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                     UNITED STATES DISTRICT COURT
           NORTHERN DISTRICT OF ILLINOIS, EASTERN DIVISION

UNITED STATES OF AMERICA,                   )
                                            )
                               Plaintiff,   )
                                            ) Case No.: 19 CR 567-1
                     v.                     )
                                            )
ROBERT KELLY,                               )
                                            ) Hon. Harry D. Leinenweber
                          Defendant.        )

           DEFENDANT ROBERT KELLY’S MOTION FOR IMMEDIATE
                RELEASE FROM SOLITARY CONFINEMENT

      NOW COMES DEFENDANT, ROBERT KELLY, through counsel, and

respectfully requests that this Court Order the Federal Bureau of Prisons

(“BOP”) to immediately release him from confinement in the “Special Housing

Unit” (“SHU”), which is designed for and used to punish. In support, Mr. Kelly

states as follows:

      I.      Introduction

      Despite being compliant with all forms of previous pretrial release, since

his arrest on July 11, 2019, Mr. Kelly has been housed in the SHU at the

Metropolitan Correctional Center (“MCC”). Initially, this was purportedly

done for Mr. Kelly’s own safety, but subsequently, Mr. Kelly, through counsel,

requested that he be released into the MCC’s general population. The BOP

refused, stating, “[T]he issue is that although he may be ready to go to general

population, for safety and security reasons, he may not be appropriate for
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general population at this time because of his alleged offense and notoriety. . .

. Nonetheless, his housing status will continue to be monitored and reviewed

on a weekly basis.” See Exhibit A, attached hereto (email from BOP).

       Instead of placing the Mr. Kelly one of several other floors available as

an alternative to general population, the BOP has placed Mr. Kelly where

inmates go to be punished, on the facility’s most restrictive floor, with zero

privileges. In essence, even though he has not violated a single BOP rule, Mr.

Kelly is being unconstitutionally punished and segregated from the rest of the

prison population. Additionally, the BOP’s promise to continue to check Mr.

Kelly’s status to see if anything changes as to his solitary segregation is utterly

nonsensical – the conduct he is charged with will remain unchanged, as will

his celebrity status.

       Housing in the SHU unit entails, among other things:

   •   No meaningful interaction with other humans;

   •   No time outside getting sunlight;

   • No privileges in terms of use of media/recreation activities;

   • All visits, except for those with attorneys, are conducted via video and

       recorded. Normally inmates have unrecorded face-to-face visitation that

       takes place in a common visiting room;

   •   A single civilian visitor for each 90-day period. This means that the same

       one civilian can visit for 90 days, and only at that point may a new


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      civilian visitor be designated. . Normally inmates are allowed to place 10

      civilian visitors on their visitation list;

   • Allowance of only the purchase of soap and other toiletries, and batteries

      for a small radio, from the commissary. Normally inmates are allowed to

      buy those items as well as snacks and candy;

   • Highly limited interaction other inmates;

   • No television. Normally inmates are free to watch television in the

      dayroom where they can socialize with other inmates;

   • Access to showers for basic hygiene only three days per week, on Monday,

      Wednesday and Friday. Normally inmates are allowed to shower every

      day;

   • No recreation or fresh air. Normally inmates are allowed to exercise and

      play basketball on the roof of the facility;

   • Only one telephone call, lasting 15 minutes, per month. Normally

      inmates are allowed at least 300 minutes of phone privileges per month;

   • No email access. Normally inmates have unfettered access to email

      family, friends, and their attorneys;

   Further, Mr. Kelly’s segregation in the SHU (and in custody) gives rise to

issues that make it very difficult to prepare for any trial, including the

following;




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• Anytime Mr. Kelly is removed from his cell he has to be handcuffed and

  remain handcuffed, and does not have use of his hands when meeting

  with counsel, as opposed to general population inmates, who are not

  cuffed when meeting with counsel.

• SHU inmates must meet with counsel are in a small room, far smaller

  than the ones on the 11th floor where counsel meets with inmates that

  are not in the SHU. In the 11th floor meeting rooms there is a table, and

  the client typically will sit on one side, with counsel on the other. The

  table provides a working space. In the SHU there is no table, only a very

  small counter against one wall. That limited counter space is

  encumbered by a box utilized for the video visitation and a desktop

  computer terminal and screen. There is not enough space to put a piece

  of paper and have it lie flat;

• Mr. Kelly has extremely limited literacy, which means that every piece

  of discovery is going to have to be read to him, and order to review. When

  meeting with Mr. Kelly anything and everything the Council wishes to

  review with him must be kept on counsel’s lap or the floor, because there

  is no table. Given that Mr. Kelly is cuffed during these visits, and there

  is no table, it is impossible for counsel to review documents with him and

  write notes.




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        Given that Mr. Kelly is a pretrial detainee not yet convicted of any crime,

his current conditions not only violate the cruel and unusual punishment

standards of the 8th Amendment, his procedural due process rights, and further

inhibits his right to effective counsel under the 6th Amendment.

II.     Solitary Segregation Unconstitutionally Deprives Mr. Kelly of
        his Constitutional Rights

        In evaluating the conditions a pre-trial detainee is held in, the Supreme

Court indicated in Bell v. Wolfish that the “proper inquiry is whether those

conditions amount to punishment of the detainee.” Bell v. Wolfish 441 U.S. 520

(1979). Absent a showing of express intent to punish on the part of detention

facility officials, the determination turns on “whether an alternative purpose

to which [the restriction] may rationally be connected is assignable for it, and

whether it appears excessive in relation to the alternative purpose assigned to

it.” Id. at 530. The Court reasoned that, “pretrial detainees, who have not been

convicted of any crimes, retain at least those constitutional rights that we have

held are enjoyed by convicted prisoners.” Id. at 544 (emphasis added). The

Court further observed that “loading a detainee with chains and shackles and

throwing him in a dungeon” would violate due process because many

alternatives short of those measures would suffice to “ensure presence at trial

and security of the institution.” Id. at 539.




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      Similarly, in Rapier v. Harris, the Seventh Circuit noted that “due

process entitles a pretrial detainee to be free from punishment prior to an

adjudication of guilt.” Rapier v. Harris, 172 F.3d 999, 1003 (7th Cir. 1999). The

Seventh Circuit recognized the “fundamental principle that a person held in

confinement as a pretrial detainee may not be subjected to any form of

punishment for the crime for which he is charged.” Id. Any other rule “would

render nugatory the basic proposition that a person is innocent until there is a

judicial determination of guilt.” Id. Thus, while the “government may have

legitimate interests that stem from the need to manage the facility in which

the individual is detained,” the measures taken to effectuate these interests

must be “reasonable.” Id. at 1004.

      In Rapier, a pretrial detainee was placed in solitary confinement for a

prolonged period of time because of misconduct that occurred while he was

detained, namely numerous incidents of violent and disruptive behavior,

including throwing food trays and urine at other inmates and guards, stabbing

a prisoner-trustee with a broken broomstick multiple times, and purposely

flooding his cell by blocking the toilet. Id. at 1001.

      The Rapier court observed that, “unlike sentenced prisoners for whom

much institutional punishment can be considered to be within the parameters

of the imposed sentence of confinement …pretrial detainees, serving no

sentence and being held only to answer an accusation at trial, have no


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expectation that, simply by virtue of their status as pretrial detainees, they

will be subjected to punishment.” Id. at 1003. The Rapier court additionally

noted that, before pretrial detainees are subjected to punishments for

infractions committed while awaiting trial, these detainees are entitled to

procedural protection before the imposition of any punishment. Id. at 1004.

This due process “hearing helps to ensure that disciplinary punishment is what

it purports to be, rather than punishment in advance of conviction for the crime

that led to detention,” which has been decried by the Supreme Court. Id.

      This view was echoed in Love v. Sheahan, where the Northern District

of Illinois found that the plaintiff pretrial detainee had sufficiently stated a

claim for procedural due process when he was placed in solitary segregation

without a procedural hearing either before or during his stay. Love v. Sheahan,

156 F. Supp. 2d 749, 756 (N.D. Ill. 2001). In Love, the court recognized the

fundamental difference between inmates and pretrial detainees, noting that -

as a pretrial detainee – plaintiff “need not allege that defendants’ actions

imposed atypical and significant hardship in relation to the ordinary incidents

of prison life.” Id. at 756. Notably, the plaintiff in Love was in segregation in

connection with the stabbing to death of another pre-trial detainee in a rival

gang. Id. at 752.

      Here, Mr. Kelly’s circumstances in the present case stand in stark

contrast to those of the pretrial detainees in either Love or Rapier. Not only


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has Mr. Kelly been deprived of due process by not being afforded a hearing by

the BOP, the BOP has not done anything to even consider less restrictive

alternatives to placing Mr. Kelly in solitary segregation. In addition, Mr.

Kelly’s solitary segregation bears no relationship to any of his conduct since

his detention. In fact, Mr. Kelly has done nothing to violate any rule being

detained.

      In fact, based on the words of the BOP alone, it is clear that Mr. Kelly is

being punished because of the crime of which he is charged and because of his

celebrity status. He is being held in solitary confinement despite the fact that

he has not violated a single BOP rule or regulation.         This arbitrary and

capricious placement of Mr. Kelly in solitary segregation based solely on how

detainees in the general population may purportedly react is equivalent to

“loading him with chains and shackles and throwing him in a dungeon.”

Wolfish 441 U.S. at 552. The BOP’s continuing violation of his due process

must be rejected by this Court.

      Further, this Court should consider the toll that solitary confinement

continues to take on Mr. Kelly’s physical and mental health. Common sense

counsels that anyone who is denied regular human contact and access to the

outside will suffer severe consequences.       The leading literature suggests

exactly the same.     For example, in his 2006 article in the Washington

University Journal of Law and Policy, former Harvard Medical School faculty


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member Dr. Stuart Grassian noted that “…deprived of a sufficient level of

environmental and social stimulation, individuals will soon become incapable

of maintaining an adequate state of alertness and attention to the

environment…even a few days of solitary confinement will predictably shift

the electroencephalogram (EEG) pattern toward an abnormal pattern

characteristic of stupor and delirium.” Stuart Grassian, The Psychological

Effects of Solitary Confinement, Washington University Journal of Law and

Policy Vol. 22, January 2006, at 330-331. In cases of solitary confinement, Dr.

Grassian noted that “incarceration in solitary caused either severe

exacerbation or recurrence of preexisting illness, or the appearance of an acute

mental illness in individuals who had previously been free of any such illness.”

Id. at 334.

      Similarly, in his 2012 testimony before the Senate Judiciary Committee

on Civil Rights during a hearing on solitary confinement, Psychology Professor

Craig Haney discussed the conditions prisoners face in solitary confinement.

Professor Haney testified that all solitary prisoners are confined for, on

average, 23 hours per day in cells that commonly range from 60-80 feet in

dimension.    United States Cong. Senate Judiciary Subcommittee on the

Constitution, Civil and Human Rights. Hearing on Solitary Confinement, June

19, 2012. 112th Cong. 2nd sess. Washington: GPO 2012 (statement of Craig

Haney, PhD) at p. 4.


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      Professor Haney further testified that serious mental illness can result

as a result of this confinement, and that many inmates become “so desperate

and despondent that they engage in self-mutilation…and…a disturbingly high

number resort to suicide.” Id. at p. 9. According to Professor Haney, it is “not

uncommon in these units to encounter prisoners who have smeared themselves

with feces, sit catatonic in puddles of their own urine on the floors of their cells,

or shriek wildly and bang their fists or their heads against the walls that

contain them.” Id. Professor Haney also referred to a 2003 study he conducted

of inmates in solitary confinement where three quarters of those interviewed

exhibited a prevalence of the following symptoms “…significantly increased

negative attitudes and affect, irritability, anger, aggression and even rage;

chronic insomnia, free floating anxiety, fear of impending emotional

breakdowns, a loss of control, and panic attacks; severe and even paralyzing

discomfort around other people, extreme paranoia; as well as various kinds of

cognitive dysfunction, such as an inability to concentrate or remember, and

ruminations in which they fixate on trivial things intensely and over long

periods of time; a sense of hopelessness and deep depression are widespread;

and many prisoners report signs and symptoms of psychosis, including visual

and auditory hallucinations.” Id. at 11; C. Haney, Mental Health Issues in

Long-Term Solitary and “Supermax” Confinement, 49 Crime & Delinquency

124-156 (2003); C. Haney, The Social Psychology of Isolation: Why Solitary


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Confinement is Psychologically Harmful, Prison Service Journal UK (Solitary

Confinement Special Issue), Issue 181, 12-20 (2009).

      Moreover, courts have also historically recognized the serious nature of

issues that may befall those inmates in solitary confinement. In the 1890 case

of In Re Medley, the United States Supreme Court noted that, with regard to

inmates in solitary confinement, “A considerable number of the prisoners fell,

after even a short confinement, into a semi-fatuous condition, from which it

was next to impossible to arouse them, and others became violently insane;

others, still, committed suicide; while those who stood the ordeal better were

not generally reformed, and in most cases did not recover sufficient mental

activity to be of any subsequent service to the community.” In re Medley, 134

U.S. 160 (1890).

      Over a century later, this view remained consistent, with the Northern

District of California recognizing that the severe conditions “may press the

outer-bounds of what most humans can psychologically tolerate.” Madrid v.

Gomez, 889 F.Supp. 1146 (N.D. Cal. 1995). This view was echoed by the Middle

District of Louisiana, which recognized social interaction and environmental

stimulation as basic human needs, the deprivation of which constitute cruel

and unusual punishment under the Eighth Amendment, noting “…in light of

the maturation of our society’s understanding of the very real psychological

needs of human beings, courts have recognized the inhumanity of


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institutionally-imposed psychological pain and suffering. Furthermore, as the

Third Circuit stated, “[t]he touchstone is the health of the inmate. While the

prison administration may punish, it may not do so in a manner that threatens

the physical and mental health of prisoners.” Wilkerson v. Stalder, 639 F.

Supp. 2d 654, 678 (M.D. La. 2007).

      The Eastern District of Virginia recently affirmed the view in Medley,

recognizing that the appropriateness of incarcerating inmates in solitary

confinement must adhere to the analysis of the evolving standards of common

decency. See Porter v. Clarke, 290 F. Supp. 3d 518 (E.D. Va. 2018). The court

in Porter noted that “there is a large and growing body of literature—both

academic and legal—discussing the potentially devastating effects of prolonged

periods of isolation. As one District Court put it nearly two decades ago: “A

conclusion ... that prolonged isolation from social and environmental

stimulation increases the risk of developing mental illness does not strike this

Court as rocket science.” Id. at 9 (internal citations omitted.) The Porter court

then held that years’ long isolation created a significant risk of substantial

psychological and emotional harm, and that the inmates involved in the case

suffered irreparable harm by virtue of their incarcerated conditions in solitary

confinement on death row. Id. Accordingly, the court granted the plaintiff

inmates’ motion for summary judgment, and issued an injunction against the

Mr. Kelly warden. Id. at 17.


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      III.   Conclusion

      Mr. Kelly is a pretrial detainee who has not committed a single violation

while in jail, yet he is being housed in a solitary confinement situation due to

his celebrity status. This violates the 6th, 8th, and 14th Amendments. This

Court should therefore enter an Order requiring the BOP to either

immediately release Mr. Kelly from his current conditions of confinement, and

for such other and further relief as is appropriate under the circumstances.

                                                        Respectfully submitted,
                                                           /s/ Steven Greenberg

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                       CERTIFICATE OF SERVICE

      Christopher T. Grohman, Attorney at Law, hereby certifies that the
foregoing brief was served on August 29, 2019, in accordance with
Fed.R.Crim.P.49, Fed.R.Civ.P.5, LR 5.5, and the General Order on Electronic
Case Filing (ECF) pursuant to the district court’s system as to ECF filers.


                                            /s/ Christopher T. Grohman




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